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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




  In re Application of

  LINDA FISCHER

                         Applicant,

  To Issue a Subpoena for the Taking of a
  Deposition and The Production of Documents.




      DECLARATION OF REED BRODSKY IN SUPPORT OF LINDA FISCHER’S
   APPLICATION FOR JUDICIAL ASSISTANCE TO OBTAIN EVIDENCE FOR USE IN
            A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782


            I, Reed Brodsky, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

  that the following is true and correct:

   1.    I am a partner in the law firm of Gibson, Dunn & Crutcher LLP, and am admitted to

  practice law in the State of New York and the U.S. District Court for the Southern District of

  New York, and my application for admittance by means of Pro Hac Vice in the Southern District

  of Florida is forthcoming. My firm represents Linda Fischer (the “Petitioner”). I make this

  declaration in support of Petitioners’ application for Judicial Assistance to Obtain Evidence for

  use in a Foreign Proceeding Pursuant to 28 U.S.C. § 1782 (the “Application”). I am over the age

  of eighteen years and am not a party to this action.

   2.    Attached hereto as Exhibit 1 is a true and correct copy of a subpoena for deposition for

  Svetlana Astafurova dated February 8, 2021.
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   3.    Attached hereto as Exhibit 2 is a true and correct copy of a subpoena to produce

  documents for Svetlana Astafurova dated February 8, 2021.

   4.    Attached hereto as Exhibit 3 is a true and correct copy of a subpoena to produce

  documents for the Estate of Michael Fischer dated February 8, 2021.

   5.    Attached hereto as Exhibit 4 is a true and correct copy of a subpoena for deposition for

  XL Funding Inc. dated February 8, 2021.

   6.    Attached hereto as Exhibit 5 is a true and correct copy of a subpoena to produce

  documents for XL Funding Inc. dated February 8, 2021.

   7.    Attached hereto as Exhibit 6 is a true and correct copy of a subpoena for deposition for

  Blackstone Equities, LLC dated February 8, 2021.

   8.    Attached hereto as Exhibit 7 is a true and correct copy of a subpoena to produce

  documents for Blackstone Equities, LLC dated February 8, 2021.

   9.    Attached hereto as Exhibit 8 is a true and correct copy of XL Funding, Inc.’s Certificate

  of Interested Persons and Corporate Disclosure Statement as filed in XL Funding, Inc. v. Griggs,

  Case No. 20-24782-CV-ALTONAGA/Torres (S.D. Fla. Nov. 30, 2020).

  10.    The discovery sought in Ms. Fischer’s application is from two Florida domiciles, the Estate

  of Michael Fischer and Svetlana Astafurova (both Mr. Fischer and Ms. Astafurova lived or live at

  7980 Biscayne Point Circle, Miami Beach, FL, 33141) as well as two Florida companies, XL

  Funding, LLC, and Blackstone Equities, LLC.

   11.   Attached hereto as Exhibit 9 is true and correct copy of proof of a public record

  reflecting Svetlana Astafurova’s Miami address obtained from the State of Florida Department of

  Highway Safety and Motor Vehicles on January 7, 2021.




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   12.   Attached hereto as Exhibit 10 is a true and correct copy of excerpts of a background

  report from TransUnion’s TLO service reflecting known addresses of Michael Fischer run on or

  about December 14, 2020.

   13.   Attached hereto as Exhibit 11 is a true and correct copy of XL Funding, Inc.’s 2020

  Foreign Profit Corporation Annual Report, filed August 24, 2020.

   14.   Attached hereto as Exhibit 12 is a true and correct copy of an article from the South

  Florida Business Journal entitled “Miami Beach’s Blackstone Apartments get $10M refinancing”

  dated September 1, 2011, available at:

  https://www.bizjournals.com/southflorida/news/2011/09/01/10-m-refi-for-blackstones-

  miami.html.

   15.   Attached hereto as Exhibit 13 is a true and correct copy of Blackstone Equities LLC

  filing information.

         I declare under penalty of perjury that the foregoing is true and correct.


  Dated: February 8, 2021
  New York, New York




                                                                                  Reed Brodsky




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